                   UNITED STATES DISTRICT COURT FOR
                 THE MIDDLE DISTRICT OF NORTH CAROLINA


  STUDENTS FOR FAIR ADMISSIONS,
  INC.,
           Plaintiff,

                v.
                                               Civil Action No. 1:14-cv-954-LCB-JLW
  THE UNIVERSITY OF NORTH
  CAROLINA AT CHAPEL HILL, et al.,
                                              NOTICE OF APPEARANCE
                Defendants.




      Pursuant to L.R. 83.1(d), Intervenor Defendants hereby give notice of the

special appearance of Edward Caspar of the Lawyers’ Committee for Civil Rights

Under Law, appearing as co-counsel for Intervenor Defendants in this action with Mr.

Jack Holtzman of the North Carolina Justice Center. Mr. Caspar has registered as a

filing user with the Court’s ECF system as required by L.R. 5.3(c).


                                            Respectfully submitted,

                                            /s/ Edward G. Caspar
                                            Edward G. Caspar, MA Bar No. 650566
                                            Attorney for Intervenor Defendants
                                            LAWYERS’ COMMITTEE FOR
                                            CIVIL RIGHTS UNDER LAW
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                                              /s/ Jack Holtzman
                                              Jack Holtzman, N.C. Bar No. 13548
                                              Attorney for Intervenor Defendants
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                                   Certificate of Service

       I hereby certify that on the date below I electronically filed the foregoing with the

Clerk of the Court, and served the foregoing on all parties of record, using the court’s

CM/ECF system.

                                   /s/ Edward G. Caspar
                                   Edward G. Caspar

                                   May 21, 2019




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